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              UNITED STATES COURT OF INTERNATIONAL TRADE
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CURIA GLOBAL INC.; CURIA WISCONSIN, :
INC.; CURIA NEW JERSEY, LLC; CURIA
NEW YORK, INC; CURIA INDIANA, LLC;      :
CURIA MASSACHUSETTS, INC; CURIA         :
MISSOURI, INC.; CURIA NEW MEXICO,
LLC; CURIA BIO, INC.; CURIA BIO         :                    Court No. 22-00247
CALIFORNIA, INC.,                       :
                             Plaintiffs,         :
                      v.                         :
UNITED STATES OF AMERICA; OFFICE OF :
THE UNITED STATE TRADE                :
REPRESENTATIVE; KATHERINE TAI, in her
                                      :
official capacity as U.S. TRADE
REPRESENTATIVE; U.S. CUSTOMS &        :
BORDER PROTECTION; and CHRIS          :
MAGNUS, in his official capacity as
COMMISSIONER OF U.S. CUSTOMS &        :
BORDER PROTECTION,                    :
                             Defendants.         :
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                                             ORDER
      Upon consideration of Plaintiffs’ Motion for Leave to Amend the Complaint in the above-

captioned matter and all other papers and proceedings herein, it is hereby ORDERED that

Plaintiffs’ Motion for Leave to Amend is GRANTED.



                                   SO ORDERED.



                                        /s/ Mark A. Barnett
                                   _____________________________________
                                   Judge


            May 22
Dated: ________________, 2024
      New York, New York


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